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          NICHOLAS GOODMAN & ASSOCIATES, PLLC
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H. NICHOLAS GOODMAN                                                                                    CAMILLE M. ABATE
PATRICK L. SELVEY, JR.
                                                     ─────                                             ROBERT P. PREUSS*
      ────                                        (212) 227-9003                                             OF COUNSEL
                                                                                                     *ALSO ADMITTED IN NEW JERSEY
  ALFRED R. FUENTE                                                                                           ────
       COUNSEL                                                                                        ARSLAN CHOUDHERY
                                                                                                             PARALEGAL


                                                                               January 15, 2025
       Via Electronic Mail
       Lawrence J. Klein (lklein@dacbeachcroft.com)
       Aaron Mandel (amandel@dacbeachcroft.com)
       DAC Beachcroft LLP
       55 Broadway, Suite 1602
       New York, New York 10006

                 Re:     Juan Carlos Interiano, et al. v. Arch Specialty Insurance Company
                         United States District Court, E.D.N.Y. Case No. 2:23-cv-238-PKC-AYS
                         Request for Immediate Withdrawal as Counsel for Defendant

       Counselors:

            As you are no doubt aware, per Stipulation dated December 11, 2024, and So-Ordered on
       December 21, 2024, this firm is now counsel for Plaintiffs in the above referenced matter.

               As set forth in his Declaration dated December 19, 2024, (ECF # 48-2), former Plaintiff’s
       counsel Vogrin & Frimet, by George Vogrin (collectively “Vogrin”), withdrew from representing
       Plaintiff due to a prospective conflict of interest arising from Vogrin’s merger with another law
       firm effective January 1, 2025. While not specified in the Declaration due to privacy concerns, the
       new firm in question was DAC Beachcroft LLP.

              By Notice of Change of Firm, Address, and Contact Information you filed on January 8,
       2025, (ECF # 49), you advised the Court herein that you had also joined a new firm effective
       January 1, 2025, and that firm is none other than DAC Beachcroft LLP, the very same firm that
       Vogrin, Plaintiff’s former counsel, merged with on January 1, 2025.

              Accordingly, your continued representation of Defendant Arch Specialty Insurance
       Company (“Arch”) in the referenced matter would create a conflict of interest under to the
       applicable rules of professional conduct. As set forth below, we hereby request that you
       immediately inform the Court of your conflict and request leave to withdraw as counsel.

               Rule 1.9 of the New York Rules of Professional Conduct (“NYRPC”), Duties to Former
       Clients, provides, in pertinent part, as follows:

                 (a) A lawyer who has formerly represented a client in a matter shall not thereafter
                 represent another person in the same or a substantially related matter in which that
                 person’s interests are materially adverse to the interests of the former client unless
                 the former client gives informed consent, confirmed in writing.
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        Based on Rule 1.9, Vogrin, Plaintiff’s former counsel, is clearly prohibited from
 representing Arch in the referenced matter based on his prior representation of the Plaintiff in that
 same matter.

        NYRPC Rule 1.10, Imputation of Conflicts of Interest, provides in relevant part as follows:

        (a) While lawyers are associated in a firm, none of them shall knowingly represent
        a client when any one of them practicing alone would be prohibited from doing so
        by Rule 1.7, 1.8 or 1.9, except as otherwise provided therein.

        ***

        (c) When a lawyer becomes associated with a firm, the firm may not knowingly
        represent a client in a matter that is the same as or substantially related to a matter
        in which the newly associated lawyer, or a firm with which that lawyer was
        associated, formerly represented a client whose interests are materially adverse to
        the prospective or current client unless the newly associated lawyer did not acquire
        any information protected by Rule 1.6 or Rule 1.9(c) that is material to the current
        matter.

        (d) A disqualification prescribed by this Rule may be waived by the affected client
        or former client under the conditions stated in Rule 1.7.

         Pursuant to NYRPC 1.10(a), Vogrin’s conflict is imputed his new firm, DAC Beachcroft
 LLP, and all attorneys associated therewith, including yourself. While Rule 1.10 provides certain
 exceptions to this rule, none of those exceptions apply here. Vogrin most certainly acquired
 information protected by Rule 1.6 in the course of his representation of the Plaintiff herein, and
 Plaintiff has not, and will not, consent to Arch’s representation by DAC Beachcroft, LLP under
 these circumstances. Pursuant to Rule 1.7, Plaintiff’s written waiver would be required and that is
 simply not available.

         Therefore, Plaintiff hereby requests that you immediately inform the Court of your conflict
 of interest and seek leave to withdraw based upon same. If you would like to meet and confer
 regarding the foregoing, or if you are simply unwilling to withdraw from your representation of
 Arch, please advise by end of day tomorrow, January 16, so that we may seek an adjournment of
 the Motion Conference currently scheduled for January 21, and request leave to move to disqualify
 DAC Beachcroft LLP from representing the Arch herein.

                                                               Very truly yours,



                                                               Patrick L. Selvey

 cc:    H. Nicholas Goodman (ngoodman@ngoodmanlaw.com)



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